                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                         No. 23-cr-10-CJW
 vs.
                                             REPORT AND RECOMMENDATION
 JUSTIN EUGENE DOWIE,

       Defendant.
                                ____________________


       On July 19, 2023, the above-named defendant appeared before the undersigned
United States Magistrate Judge by consent and, pursuant to Federal Rule of Criminal
Procedure 11, pleaded guilty to Count 1 of the Superseding Indictment, Bank Fraud, in
violation of 18 U.S.C. Section 1344, and Count 2 of the Superseding Indictment, Money
Laundering, in violation of 18 U.S.C. Section 1957. After cautioning and examining
Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined
that Defendant’s decision to plead guilty was knowing and voluntary, and the offense
charged was supported by an independent basis in fact containing each of the essential
elements of the offense.     I therefore RECOMMEND that the Court ACCEPT
Defendant’s guilty plea and adjudge Defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the Government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the Government could use against Defendant any statements
made under oath.




    Case 1:23-cr-00010-CJW-MAR        Document 55      Filed 07/20/23    Page 1 of 6
       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Superseding Indictment and
further acknowledged that Defendant had fully discussed the Superseding Indictment with
Defendant’s counsel. Defendant acknowledged that Defendant had fully conferred with
Defendant’s counsel prior to deciding to plead guilty and that Defendant was satisfied
with counsel’s services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.     The right to assistance of counsel at every stage of the case;

       2.     The right to a speedy, public trial;

       3.     The right to have the case tried by a jury selected from a cross-section of
              the community;

       4.     That Defendant would be presumed innocent, and would be found not guilty
              unless the Government could prove each and every element of the offense
              beyond a reasonable doubt;

       5.     That Defendant would have the right to see and hear all of the Government’s
              witnesses, and Defendant’s attorney would have the right to cross-examine
              any witnesses called by the Government;

       6.     That Defendant would have the right to subpoena witnesses to testify at the
              trial, and if Defendant could not afford to pay the costs of bringing these
              witnesses to court, then the government would pay those costs;




                                             2

    Case 1:23-cr-00010-CJW-MAR          Document 55      Filed 07/20/23    Page 2 of 6
          7.    That Defendant would have the privilege against self-incrimination: i.e.,
                Defendant could choose to testify at trial, but need not do so; if Defendant
                chose not to testify, then the Court would instruct the jury that it could not
                draw any adverse inference from Defendant’s decision not to testify; and

          8.    That any verdict by the jury would have to be unanimous.

          I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
          • Plea Agreement
          I determined that Defendant was pleading guilty pursuant to the Revised
Memorandum of a Proposed Plea Agreement between the United States Attorney’s Office
and Defendant (“the plea agreement”). After confirming that a copy of the written plea
agreement was in front of Defendant and Defendant’s counsel, I determined that
Defendant understood the terms of the plea agreement. I summarized the plea agreement,
and made certain Defendant understood its terms.
          • Dismissal of Charges
I explained that the plea agreement provides for dismissal of Counts 3, 4, and 5 of the
Superseding Indictment if Defendant pleads guilty to Counts 1 and 2 of the Superseding
Indictment, and that a district judge will decide whether or not to accept the sentencing
agreement.       If the district judge decides to reject the sentencing agreement, then
Defendant will have an opportunity to withdraw the guilty plea and instead plead not
guilty.
          • Elements of Crimes and Factual Basis
          I summarized the charges against Defendant and listed the elements of the crimes
charged. I determined that Defendant understood each and every element of the crimes,
and Defendant’s counsel confirmed that Defendant understood each and every element of




                                               3

    Case 1:23-cr-00010-CJW-MAR            Document 55      Filed 07/20/23    Page 3 of 6
the crimes charged. For the offenses to which Defendant was pleading guilty, I elicited
a full and complete factual basis for all elements of the crimes charged in the Superseding
Indictment. Defendant’s attorney indicated that the offenses to which Defendant was
pleading guilty were factually supported.
       • Sentencing
       I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggest it should
be and may be different from what Defendant’s attorney had estimated.
       I explained that a probation officer will prepare a written presentence investigation
report and that Defendant and Defendant’s counsel will have an opportunity to read the
presentence report before the sentencing hearing and will have the opportunity to object
to the contents of the report. I further explained that Defendant and Defendant’s counsel
will be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
       I advised Defendant of the consequences of the guilty plea, including the maximum
term of imprisonment, the maximum term of supervised release, and the maximum fine.
Specifically, I advised Defendant that Count 1 of the Superseding Indictment is
punishable by the following maximum penalties: (1) not more than thirty years in
prison without the possibility of parole; (2) a period of supervised release following
prison of not more than five years; (3) a fine of not more than $1,000,000; and (4) a
mandatory special assessment of $100.
       I advised Defendant that Count 2 of the Superseding Indictment is punishable
by the following maximum penalties: (1) not more than ten years in prison without the
possibility of parole; (2) a period of supervised release following prison of not more



                                             4

    Case 1:23-cr-00010-CJW-MAR          Document 55      Filed 07/20/23    Page 4 of 6
than three years; (3) a fine of not more than $250,000; and (4) a mandatory special
assessment of $100.
       I further advised Defendant that he may be subject to the alternative fine provisions
of 18 U.S.C. Section 3571 with respect to each of the two Counts. Under this section,
the maximum fine for each Count 1 and Count 2 of the Superseding Indictment that may
be imposed on Defendant is the greatest of the following amounts: (1) twice the gross
gain to Defendant resulting from the offense; (2) twice the gross loss resulting from the
offense; (3) $250,000; or (4) the amount specified in the section defining the offense.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I further advised Defendant he will be required to pay restitution
as set forth in paragraph 34 of the plea agreement. I advised Defendant of the collateral
consequences of pleading guilty. Defendant acknowledged understanding all of the above
consequences.
       • Waiver of Appeal
       I explained that Defendant has waived his right to appeal, except under the limited
circumstances set forth in paragraph 50 of the plea agreement. The Government retains
its right to appeal the sentence in this case.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty pleas, Defendant will have no right to withdraw the pleas at a later
date, even if the sentence imposed is different from what Defendant anticipated.



                                                 5

    Case 1:23-cr-00010-CJW-MAR           Document 55     Filed 07/20/23    Page 5 of 6
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Counts 1 and 2 of the Superseding Indictment.
I find the following with respect to the guilty pleas:
       1.     Defendant’s pleas are voluntary; knowing; not the result of force, threats
              or promise; and Defendant is fully competent.

       2.     Defendant is aware of the minimum and maximum punishment for the
              counts to which Defendant pleaded guilty.

       3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.

       4.     There is a factual basis for the pleas.

       5.     Defendant is guilty of the crimes to which Defendant pleaded guilty.

       The parties executed a waiver of their right to object to this report within 14 days
hereof.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 20th day of July, 2023.




                                             6

    Case 1:23-cr-00010-CJW-MAR          Document 55      Filed 07/20/23   Page 6 of 6
